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                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF OKLAHOMA

In re:                                  )
                                        )
Clifton D. & Mary A. Randall,           )               Case No. 20-12418-JDL
                                        )                     (ch. 12)
                        Debtors.        )

               DEBTORS’ MOTION FOR ABANDONMENT OF PROPERTY,
                         SUPPORTING MEMORANDUM
                   AND NOTICE OF OPPORTUNITY FOR HEARING

         Come now Clifton D. and Mary A. Randall (“Debtors”) and, pursuant to Title 11 U.S.C. 554,

F.R.B.P. 6007 and Local Rule 6007-1, request that they be allowed to abandon certain property of

their chapter 12 estate and in support hereof state:

         1.     Debtors filed this case on July 20, 2020 and continue to serve as debtors-in-

                possession herein.

         2.     A component of the property owned by them is a herd of cattle consisting of

                approximately thirty-one head of beef cattle, thirty-six head of cows and five bulls.

         3.     Debtors are in the process of drafting their chapter 12 reorganization plan which plan

                will provide for the surrender of the above cattle to the creditor having a first security

                interest in such cattle, BancFirst, Frederick, Oklahoma.

         4.     Debtors further intend for their plan to provide for the surrender of a large portion of

                the farm and pasture land owned by them. They do not believe the land they intend

                to retain under their plan will be sufficient to provide adequate feed for the cattle

                during the upcoming fall and winter months.

                                     Supporting Memorandum

         Title 11 U.S.C. 554 provides, after notice and hearing, a trustee (or debtor-in-possession)

may abandon any property of the estate that is burdensome to the estate. F.R.B.P. 6007(a) requires
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a debtor-in-possession provide fourteen days notice of a proposed abandonment to the U.S. Trustee,

all creditors, indenture trustees and committees. Only if an objection is filed by a party in interest

shall the abandonment request be set for a hearing. Because the current year has provided an

abundant supply of rain, the pastures owned by Debtors have supported their cattle providing them

sufficient feed to maintain their health. The upcoming cold weather of fall and winter will inhibit

the growth of grass on Debtor’s pasture land with the result they do not believe their cattle will have

sufficient grass on which to feed. Debtors do not have funds available to provide hay as feed for the

cattle once their pasture land goes dormant. Under these conditions, Debtors believe the cattle are

burdensome to their estate.

       Accordingly, Debtors request that they be allowed to abandon the above listed cattle to the

creditor holding the first lien thereon, BancFirst, Frederick, Oklahoma, and that upon entry of an

order approving this motion the order contain a provision directing the secured creditor, BancFirst,

Frederick, Oklahoma to immediately take possession of such cattle.

       Dated: October 7, 2020.

                                                       S/Gary L. Morrissey
                                                       Gary L. Morrissey, OBA #6438
                                                       1725 Linwood Blvd.
                                                       Oklahoma City, Oklahoma 73106
                                                       g.morrissey@yahoo.com
                                                       (405) 272-1500
                                                       Fax (405) 272-3090
                                                       Attorney for Debtors

                                        Certificate of Service

      I hereby certify that on this 7th day of October, 2020, a true and correct copy of the above
motion was served by the ECF system of Clerk of this Court to: Lonnie Eck, Esq.,
peck@eckchapter13.com, chapter 12 trustee; United States Trustee, Ustpregion20.oc.ecf@usdoj.gov;
and mailed first class U.S. Mail, postage prepaid to the creditors listed on Exhibit A below.

                                                       S/Gary L. Morrissey
                                                              Gary L. Morrissey
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 BancFirst                         Bank of America                     Capital One NA
 200 N Main Street                 P O Box 982238                      P O Box 30281
 Frederick OK 73542-0000           El Paso TX 79998-2235               Salt Lake City UT 84130-0281

 Care Credit                       Chase                               Citicards CBNA
 Synchrony Financial               P O Box 94014                       P O Box 790034
 P O Box 965035                    Palatine IL 60094-4014              Attn Bankruptcy
 Dayton FL 32893-5035                                                  Saint Louis MO 63179-0000

 Comenity Capital Bank/Ulta        Discover Financial Services         JCPMB Card Services
 P O Box 659820                    P O Box 15316                       P O Box 15369
 San Antonio TX 78265-9120         Wilmington DE 19850-0000            Wilmington DE 19850-0000

 John Deere Financial              Kohls/Capital One                   Office Max
 P O Box 5328                      P O Box 3120                        P O Box 9025
 Madison WI 53703-0328             Milwaukee WI 53201-0000             Des Moines IA 50368-9025

 Pay Pal                           Sears Bankruptcy Recovery           SYNC/Lowes
 P O Box 960080                    Management Services Inc             P O Box 965005
 Orlando FL 32896-0080             P O Box 3671                        Orlando FL 32896-0000
                                   Urbandale IA 50322-0674

 SYNC/Sams Club                    US Bank                             USAA Master Card/Visa
 P O Box 965005                    P O Box 6310                        USAA Building
 Orlando FL 32896-0000             Fargo ND 58125-0000                 San Antonio TX 78288-0001

 Wells Fargo Card Services         Zulily Credit Card
 P O Box 29486                     P O Box 530993
 Phoenix AZ 85038-9486             Atlanta GA 30353-0993



                                               Exhibit A



                             NOTICE OF OPPORTUNITY FOR HEARING

        Your rights may be affected. You should read this document carefully and consult your
attorney about your rights and the effect of this document. If you do not want the Court to grant
the requested relief, or you wish to have your views considered, you must file a written response or
objection to the requested relief with the Clerk of the United States Bankruptcy Court for the
Western District of Oklahoma, 215 Dean A. McGee Avenue, Oklahoma City, OK 73102 no later
than 14 days from the date of filing of this request for relief. You should also serve a file-stamped
copy of your response or objection to the undersigned movant/movant’s attorney and others who are
required to be served] and file a certificate of service with the Court. If no response or objection is
timely filed, the Court may grant the requested relief without a hearing or further notice.

     The 14 day period includes the three (3) days allowed for mailing provided for in
Bankruptcy Rule 9006(f).
